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lN TH-E UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STRICT OF TENNESSEE

 

WESTERN D|V|S|ON
UN|TED STATES OF AMER|CA, )
Plaintifr, ))
vs. § Cr. No. 94-20217-M1
ALLEN ALEXANDER MASON, §
Defendant. §
ORDER

 

Upon motion of the United States, the rca-sentencing hearing in the above-

referenced case is continued until Ij’iol£ti>/; ()Lt,}>/ g ,2005; ét/’f' 10 ;:30 A/V]
lT |S SO ORDERED this {X/ l day Of June, 2005.

ti) iMQQ

J N P. |VIcCALLA
.S. District Judge

 

 

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with Ftule 55 and/or32t_b) FRCrF on :` ___ 7 ;. ‘ 11__;.' J \/L

UNITED sTEATs DISTRIC COURT - WESTER DI's'TRrCT OF ENNESSEE

    

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Honorable J on McCalla
US DISTRICT COURT

